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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

CHRISTOPHER CHANDLER,
Plaintiff,
v. Case No. 18-cv-2136 (APM)
DONALD BERLIN, e¢ al.,
Defendants.
)
YERDICT FORM

You may consider the below two questions in either order you wish.

1. Has Plaintiff Christopher Chandler proven by clear and convincing evidence that, when
Defendant Donald Berlin sent the Report (Plaintiffs Exhibit 1) to Robert Eringer in 2003,
Donald Berlin knew or recklessly disregarded that his claims of criminal wrongdoing by
Christopher Chandler were false?

Yes x No

If your answer to Question 1 is “no,” your job is now complete. Please have your
foreperson sign and date the Verdict Form. If your answer to Question 1 is “yes,” you
must address Question 2.

2. Have Defendants proven by a preponderance of the evidence that, before September 14,
2017, Christopher Chandler was on “inquiry notice” that Donald Berlin had sent the
Report (Plaintiff's Exhibit 1) to Robert Eringer?

Yes No x

If your answer to Question 2 is “yes,” your job is now complete. Please have your
foreperson sign and date the Verdict Form. If your answer to Question 2 is “no,” you
must address Question 1.

If your answer to Question | is “yes,” and your answer to Question 2 is “no,” then
please proceed to Question 3.

3. What amount in damages do you award to Christopher Chandler?
$ | 000, 000

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Date Signature of Foreperson

[End of Verdict Form]
